 Case 17-41714         Doc 181   Filed 06/14/19 Entered 06/14/19 15:04:53             Desc Main
                                  Document     Page 1 of 4



                      UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF MASSACHUSETTS
________________________
In re:                   )
David E. Gravlin, Jr.    )          CHAPTER 13
Debtor                   )          CASE NO. 17-41714-CJP
________________________)


        RESPONSE TO SUPPLEMENTAL MOTION TO DISMISS CHAPTER 13

       Now comes David Gravlin, Jr. (hereinafter “Debtor”) by and through his attorney, James

P. Ehrhard, and responds to the Supplemental Motion to Dismiss Chapter 13 filed by Lora A.

Fickett, as follows:

       The Debtor asserts that he has fulfilled his domestic support obligations to his ex-wife

Lora A. Fickett. Ms. Fickett did not number her paragraphs in her motion but for purposes of

this response the Debtor will respond to each paragraph as if they were numbered.

       1. The Debtor admits that there were three (3) children that were the product of his

           marriage with Lora A. Fickett.

       2. The Debtor states that, in full context, he is fulfilling his requirements under the

           separation agreement with respect to college expenses.

       3. The Debtor states that, in full context, he is fulfilling his requirements under the

           separation agreement with respect to uninsured medical and dental expenses.

       4. The Debtor states that, in full context, he is fulfilling his requirements under the

           separation agreement with respect to college expenses.

       5. The Debtor states that, in full context, he is fulfilling his requirements under the

           separation agreement with respect to medical and dental expenses.
 Case 17-41714      Doc 181    Filed 06/14/19 Entered 06/14/19 15:04:53       Desc Main
                                Document     Page 2 of 4



       WHEREFORE, the Debtor respectfully requests that this Honorable Court not dismiss

the above-captioned case.


                                                 Respectfully submitted,
                                                 David E. Gravlin, Jr.
                                                 By his attorney,

                                                 /s/ James P. Ehrhard
                                                 James P. Ehrhard, Esq.
                                                 BBO # 651797
                                                 Ehrhard& Associates, P.C.
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Dated: June 14, 2019
 Case 17-41714       Doc 181      Filed 06/14/19 Entered 06/14/19 15:04:53             Desc Main
                                   Document     Page 3 of 4




                                 CERTIFICATE OF SERVICE

         I, James P. Ehrhard, on this 14th day of June, 2019 do hereby certify that I served a copy
of the Response to Supplemental Motion to Dismiss Chapter 13 to the parties listed below via
first class mail if not noted as having received electronic service:

       Richard King, Esq.: VIA ECF

       Denise Pappalardo, Esq.: VIA ECF

       Wendy Mead, Esq.: VIA ECF

       Lora Fickett
       36 Bulkeley Road
       Littleton, MA 01460




                                                      /s/ James P. Ehrhard
                                                      James P. Ehrhard, Esq.
Case 17-41714     Doc 181    Filed 06/14/19 Entered 06/14/19 15:04:53     Desc Main
                              Document     Page 4 of 4



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